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8    SUNROAD BCV AUTO, INC. dba BMW
     OF EL CAJON
9
10                           UNITED STATES DISTRICT COURT
11                     SOUTHERN DISTRICT OF CALIFORNIA
12
13   SIYU DONG,                              Case No. 3:19-cv-02202-DMS-BGS
14              Plaintiff,          DECLARATION OF JOSE
                                    GRIJALVA IN SUPPORT OF
15        v.                        DEFENDANTS BMW OF
                                    NORTH AMERICA, LLC AND
16   BMW OF NORTH AMERICA, LLC.;    SUNROAD BCV AUTO, INC. dba
     SUNROAD BCV AUTO, INC dba BMW BMW OF EL CAJON’S MOTION
17   OF EL CAJON; and DOES 1 to 10, FOR SUMMARY JUDGMENT
18              Defendants.                  Complaint Filed: October 10, 2019
19                                           Date: December 18, 2020
                                             Time: 1:30 p.m.
20
                                             District Judge: Dana M. Sabraw
21                                           Dept.: 13A (13th Flr.)
22                                           Magistrate Judge: Bernard G. Skomal
                                             Dept.: Suite 1280
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                                             Trial Date:April 12, 2021
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                                  -1-   Case No. 3:19-cv-02202-DMS-BGS
      DEC OF JOSE GRIJALVA ISO DEFENDANTS BMW OF NORTH AMERICA,
       LLC AND SUNROAD BCV AUTO, INC. dba BMW OF EL CAJON’S MSJ
1                          DECLARATION OF JOSE GRIJALVA
2          I, Jose Grijalva, declare and state as follows:
3         1.      I am an employee of Defendant BMW of North America, LLC (“BMW
4    NA”), working in the capacity of a Customer Support Engineer (“CSE”) since 2017. I
5    have personal knowledge of the facts set forth in this declaration, and if I was called
6    as a witness, I could and would testify competently to them.
7         2.      In my capacity as a CSE, I have experience reviewing warranty repair
8    and sales records for BMW vehicles.         I am familiar with the warranty repairs,
9    applicable warranties, and sales records for the Subject Vehicle in this case, which is a
10   new 2015 BMW X5 (VIN 5UXKS4C54F0J99238) (“Subject Vehicle”) that Plaintiff
11   purchased from BMW of Santa Maria on November 11, 2014. This was the first retail
12   sale of the Subject Vehicle.
13        3.      The BMW NA Service and Warranty Information manual sets forth and
14   provides information on all express warranties covering the Subject Vehicle. BMW
15   NA has elected to provide its “New Vehicle Limited Warranty” with every sale or
16   lease. The New Vehicle Limited Warranty expires at the earlier of 4 years/50,000
17   miles. Attached hereto as Exhibit O is a true and correct copy of the pertinent
18   portions of the Service and Warranty Information Manual.
19        4.      Plaintiff’s purchase of the Subject Vehicle was accompanied by BMW
20   NA’s New Vehicle Limited Warranty.
21        5.      The New Vehicle Limited Warranty for the Subject Vehicle expired
22   when it reached 50,000 miles. Based on the available records, the Subject Vehicle’s
23   New Vehicle Limited Warranty expired after September 20, 2017 when the Subject
24   Vehicle had 49,743 miles, but before November 7, 2017 when the Subject Vehicle had
25   52,609 miles. (See Exhibits K & L (Repair Order No. 183267) and (Repair Order No.
26   186070) attached to the Declaration of Daniel Luker.)
27        6.      The Subject Vehicle’s high-pressure fuel pump was replaced on
28   November 7, 2017, when the Subject Vehicle had 52,609 miles. The New Vehicle
                                        -2-      Case No. 3:19-cv-02202-DMS-BGS
      DEC OF JOSE GRIJALVA ISO DEFENDANTS BMW OF NORTH AMERICA,
        LLC AND SUNROAD BCV AUTO, INC. dba BMW OF EL CAJON’S MSJ
1    Limited Warranty had expired 2,609 miles before the Subject Vehicle was presented
2    for issues related to the high-pressure fuel pump. The high-pressure fuel pump repair
3    performed on November 7, 2017, was covered under the Federal Emissions Warranty.
4    A true and correct copy of Repair Order No. 186070 is attached to Declaration of
5    Daniel Luker as Exhibit L.
6         7.     Based on a review of all available authorized BMW repair center records,
7    the first time the Subject Vehicle was presented to an authorized BMW center for
8    high-pressure fuel pump repairs was November 7, 2017 at 52,609 miles.
9         8.     In March 2019, BMW NA issued Service Information Bulletin (“SIB”)
10   01 14 17, which was applicable to the Subject Vehicle and provided that the “engine
11   high pressure fuel pump limited warranty for defects in materials of workmanship
12   [was] extended to 10 year[s]/120,000 mile[s] as determined from the original in-
13   service date.”   A true and correct copy of SIB 01 14 17 issued in March 2019 is
14   attached hereto as Exhibit P.
15        9.     The October 2017 and August 2018 versions of SIB 01 14 17 apply to
16   certain F 15 series vehicles and only apply to Model Year 2014 vehicles. Since the
17   Subject Vehicle is a Model Year 2015, these prior versions are inapplicable.
18       10.     The Subject Vehicle’s high-pressure fuel pump was replaced again on
19   April 18, 2019, when the Subject Vehicle had approximately 74,852 miles. The high
20   pressure fuel pump repair performed on April 18, 2019 was covered under the limited
21   warranty extension for the high-pressure fuel pump according to SIB 01 14 17. (See
22   Ex. P.)
23       11.     The BMW Extended Vehicle Protection Plan for the Subject Vehicle
24   confirms Plaintiff purchased the Extended Service Contract on November 7, 2017.
25   The Extended Service Contract expires at the earlier of 100,000 miles or November
26   10, 2020. (See Exhibit G (BMW Extended Vehicle Protection) attached to the
27   Declaration of Robert K. Dixon.)
28       12.   Based on a review of all available authorized BMW repair center records,
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       DEC OF JOSE GRIJALVA ISO DEFENDANTS BMW OF NORTH AMERICA,
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1    no single repair presentation lasted 30 days. All repair presentations were completed
2    in less than 30 days. Further, there is nothing in any of the authorized BMW repair
3    center records to indicate repairs were delayed due to insufficient literature or parts.
4         13.     I testified at deposition in this case on July 17, 2020. A true and correct
5    copy of my deposition transcript in this matter is attached hereto as Exhibit Q
6    (pertinent portions only).
7          I declare under penalty of perjury under the laws of the State of California that
8    the foregoing is true and correct.
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       DEC OF JOSE GRIJALVA ISO DEFENDANTS BMW OF NORTH AMERICA,
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1                       EXHIBITS-TABLE OF CONTENTS
2    Exhibit                       Description                    Page Numbers
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4         O.   BMW NA Service and Warranty Information            6-16
5              Manual (pertinent portions)
          P.   SIB 01 14 17 issued in March 2019                  17-18
6
          Q.   Jose Grijalva’s deposition transcript (pertinent   19-35
7              portions)
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